       Case 6:08-cr-06087-CJS Document 211 Filed 11/03/09 Page 1 of 2



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

           v.                                       08-CR-6087-CJS

SALEH MOHAMED TAHER SAEED,

                  Defendant.



                STATEMENT OF THE GOVERNMENT WITH RESPECT
                          TO SENTENCING FACTORS

      PLEASE TAKE NOTICE, that the government hereby adopts all

findings of the Pre-sentence Report with respect to sentencing

factors in this action.

      The defendant is required by 18 U.S.C. § 3013 to pay the sum

of $100.00 at the time of sentencing.



      DATED:      Buffalo, New York, November 3, 2009.

                                         Respectfully submitted,

                                         KATHLEEN M. MEHLTRETTER
                                         United States Attorney


                                   BY:   s/Timothy C. Lynch
                                         TIMOTHY C. LYNCH
                                         Assistant U.S. Attorney
                                         Western District of New York
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                                         Buffalo, New York 14202
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                                         timothy.lynch@usdoj.gov

TO:   John R. Parrinello, Esq.
      Kerry J. Chartier, U.S. Probation Officer
      Case 6:08-cr-06087-CJS Document 211 Filed 11/03/09 Page 2 of 2



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                Defendant.




                        CERTIFICATE OF SERVICE



     I hereby certify that on November 3, 2009, I electronically

filed the foregoing STATEMENT OF THE GOVERNMENT WITH RESPECT TO

SENTENCING FACTORS with the Clerk of the District Court using its

CM/ECF system which would then electronically notify the following

CM/ECF participant on this case:


     John R. Parrinello, Esq.
     Kerry J. Chartier, U.S. Probation Officer



                                       s/Karen A. Brown
                                       KAREN A. BROWN
